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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION

   VIRNETX INC., et al.,                            §
                                                    §
                 Plaintiffs,                        § CIVIL ACTION NO. 6:12-CV-00855~RWS
                                                    §
   v.                                               §
                                                    §
   APPLE INC.;                                      §
                                                    §
                 Defendant.                         §
                                                    §
                                         VERDICT FORM

         In answering these questions, you are to follow all of the instructions provided by the Court
  during the Court s jury instructions. You must answer each question, and your answer to each
  question must be unanimous.



        1. What royalty rate, expressed as a dollar amount per device, do you find, by a
        preponderance of the evidence, would fairly and reasonably compensate VirnetX for
        Apple’s infringement?



                                    0     8        per device


        2. VirnetX and Apple have stipulated that the total number of infringing units is
        598,629,580. Multiplying the per-device royalty rate in Question 1 by this total number of
        units, what total royalty do you find, by a preponderance of the evidence, would fairly and
        reasonably compensate VirnetX for Apple’s infringement?




                               $ 502,8 847. 20



  Date: 36 OCT 2fi2.Q                                   By:
